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           EXHIBIT H
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Subject: Re: R: Expedited Port Courtesis for Hapsburg member
From: Person D2
Date: 3/13/13, 11:25 AM
To:
CC: Company B                                   Company B



Hi

I just had a meeting with Comp. B and the team and that's what we will do. At every point there will
be the relevant contact person to meet President          and facilitate access.
                                                   Haps. member




However, like everyone else, he will have to go through security/metal detectors etc.

We can discuss further details when I see you at 12:30pm.

Best, D2


From:
Date: Wednesday, 13 March 2013 14:26
To: Person D2
Cc: Company B                                  , Company B
Subject: RE: R: Expedited Port Courtesis for Hapsburg member


Hy D2

It was a pleasure to talk to you.

Just a very last detail…we suggest you to agree with the counterparts of each meeting which
will be the access point/address on the occasion of each meeting, in order to avoid any
problem/delay to President
Ideally, for each meeting you should be in contact with someone of the organizers who should
possibly wait for President       ’s car at an agreed access point/address at a certain time.
Our drivers know Washington very well and will be able to bring you anywhere, but the access
to some institutional locations (like the Congress) could be tricky if no agreement has been
taken in advance with someone coming and waiting from inside and it is not clear what is
going to be the access point.
This is obviously just and advice from our side.

All the Best and see you in a couple of hours,




From: Person D2
Sent: Wednesday, March 13, 2013 9:34 AM
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To: Company B
Cc: Company B
Subject: Re: R: Expedited Port Courtesis for Hapsburg member

Thanks for the introduction, Comp. B
 
I just spoke to           All in good hands.
 
See you shortly.
 
Best, D2
 
From: Company B
Date: Wednesday, 13 March 2013 13:00
To:
Cc: Person D2                                  Company B
Subject: FW: R: Expedited Port Courtesis for  Hapsburg member
 
Hi
 
Per the emails below, we are coordinating Prime Minister      ’s visit to Washington.  I am
copying Person D2     who works for the Prime Minister.  D2    will be with the Prime Minister
throughout his stay.  He needs to accompany you to the airport today to meet the Prime
Minister so I am connecting you.
 
D2    ’s cell number is                  .
 
Please let me know if I can be off assistance on this matter.
 
Thank you so much.
 
Comp B



 
 
From: Company B
Sent: Tuesday, March 12, 2013 6:02 PM
To:
Cc:                                                            Company B
Subject: Re: R: Expedited Port Courtesis for Hapsburg member

Grazie mille
I am learning diplomacy
Are you or anyone coming to his talk?
Comp B



Company B
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Hope to see you again tomorrow evening at Villa Firenze.
 
Best,
Comp B

 
Wednesday, March 13th

1455                  Arrival to Washington, DC
                   Transfer to Hotel (if time permits)
                   VIP Transfer –          Embassy (will provide transportation during visit)

                   HOTEL:




1700 – 1730        Senate Foreign Relations Committee
                   Staff Briefing (Minority – Republicans)
                   Location: Dirksen Senate Office Building - Room: TBD
                   POC: Company A

1730 – 1800        Senate Foreign Relations Committee
                   Staff Briefing (Majority – Democrats)
                   Staff Director
                   Location: Dirksen Senate Office Building – Room TBD
                   POC: Company B

1815               Meeting with Paul and D2
                   Willard Intercontinental Hotel

1900               Dinner with          Ambassador
                   Location: Villa Frienze


Thursday, March 14th

900 – 930
                   Senior Policy Advisor, House Representative
                   Location: U.S. Capitol – Room:
                   POC: Company A

1000 – 1045        Congressman             (R    )
                   Chairman, House
                   Location:       Rayburn House Office Building
                   POC:  Company A
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1215 – 1245           Congressman                    (D    )
                      Ranking Member,

                      Location:   Cannon House Office Building
                      POC:  Company B


1330 – 1430           Bloomberg Interview
                     1399 New York Ave NW
                      Washington, DC 20005
                      POC: Company B

1500 – 1530           Congressman                    (R-   )
                      Member, House Foreign

                      Location:    Cannon House Office Building
                      POC: Company B

1545 – 1600           Carnegie Endowment for International Peace
                      Meeting with CEIP Board and Leadership
                      Location:     Carnegie Endowment for International Peace
                                    1779 Massachusetts Ave., NW
                                    Washington, DC 20036
                                    (202) 483-7600
                      POC:

1600 – 1730           Carnegie Endowment for International Peace
                      Speech – Hapsburg member


                      Brief Q&A following Speech

1730 – 1815           Carnegie Reception in Honor of Hapsburg member

1815                  Depart for Dulles Airport
                            Embassy to Provide Transportation

2020                  Depart to          via Paris
 
 
Company B




                                    

 
From:
Sent: Thursday, March 07, 2013 4:04 PM
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Da: Company B
Inviato: giovedì 7 marzo 2013 9.47
A:
Oggetto: RE: Expedited Port Courtesis for Hapsburg member

His NY office is not coordinating the visit. He is doing it through his foundation.
                 is the point of contact.
E-mail:
Mobile:
 
From:
Sent: Wednesday, March 06, 2013 2:33 PM
To: Company B
Subject: R: Expedited Port Courtesis for Hapsburg member


Dear Comp B
                                                                                 Hapsburg member
with all great pleasure we shall provide all the necessary airport assistance to
     . I only kindly ask you to provide me with the contacts of the person who got in
touch with you in order to get all the necessary details (and to avoid possible
duplications with his staff in New York).

Best,

_______________________________




-----Messaggio originale-----
Da: Company B
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Inviato: mercoledì 6 marzo 2013 11.30
A:
Oggetto: Expedited Port Courtesis for Hapsburg member

         -

Former Prime Minister Hapsburg member will be traveling to Washington, DC next week.
During his trip he will be meeting with US Government officials and Members of
Congress to discuss his work
         and to offer insights about EU-US relations and Russia.
Hapsburg member is scheduled to arrive Dulles at 2:55p on Wednesday, March 13 and will

depart on Thursday, March 14 at 8:20p.
Could the Embassy assist with his trip by requesting expedited port courtesis
through the e-gov system for Hapsburg member ?

Best,
Comp B



Sent from my iPad

  image001.jpg




  Attachments:


  image001.jpg                                                                   4.6 KB
